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                   IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                   :
                                            :
                                            :
              v.                            :
                                            :
                                            :
MERVIN DORIVAL,                             :       CRIMINAL NOS. 2004-0154-02,
                                            :
BERNARD GABRIEL,                            :                           2004-0154-03,
                                            :
ROBERT RAWLINS,                             :                           2004-0154-05,
                                            :
CLYDE EDINBOROUGH, JR.,                     :                           2004-0154-06
                                            :
STEFON WILSON,                              :                           2004-0154-10,
                                            :
ALRIC THOMAS,                               :                           2004-0154-12.
                                            :
              Defendants.                   :


                                    JUDGMENT ORDER

              AND NOW, this 24th day of April, 2008, upon review of the above-captioned

defendants’ outstanding post-trial motions and supplemental motions and the response(s) of the

Government thereto, and any replies or sur-replies, the following is hereby ORDERED:

              1.      Defendant Dorival’s Motion for New Trial is DENIED in full;

              2.      Defendant Gabriel’s Renewed Motion for Judgment of Acquittal or

                      Alternatively Rule 33 Motion for New Trial is DENIED in full;

              3.      Defendant Robert Rawlins’ Motion for New Trial is DENIED in full;

              4.      Defendant Clyde Edinborough’s Motion for New Trial is DENIED in full;

              5.      Defendant Wilson’s Renewed Motion for Acquittal, or in the Alternative,

                      for New Trial is DENIED in full; and
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               5.       Defendant Thomas’ Renewed Rule 29 Motion for Judgment of Acquittal

                        or Alternatively Rule 33 Motion for New Trial is DENIED in full.

A memorandum detailing the court’s reasoning is issued this same day.

               The sentencing of each defendant is scheduled to take place on the following date:

               1.       Alric Thomas: June 27, 2008, 9:00 a.m.

               2.       Clyde Edinborough, Jr.: June 27, 2008, 11:00 a.m.

               3.       Bernard Gabriel: June 27, 2008, 2:00 p.m.

               4.       Mervin Dorival: June 30, 2008, 9:00 a.m.

               5.       Robert Rawlins: June 30, 2008, 11:00 a.m.

               6.       Stefon Wilson: June 30, 2008, 2:00 p.m.

Each sentencing will take place in the Large Courtroom, U.S. Courthouse in St. Thomas. This

schedule is firm.

               The Office of Probation shall timely complete a Pre-Sentence Investigation Report

as to each defendant.




                                                   S/ James T. Giles
Dated: April 24, 2008                        JAMES T. GILES
                                             UNITED STATES DISTRICT JUDGE
                                             (Sitting By Designation)

A T T E S T:
WILFREDO MORALES
Clerk of the Court

By: _______________________
       Deputy Clerk
